                                                                                                     Electronically Filed - Cole Circuit - May 06, 2019 - 01:43 PM
                                                                               19AC-CC00203

               IN THE CIRCUIT COURT OF COLE COUNTY, MISSOURI


62ND & 65TH REGIMENTS LEGACY                          )
FOUNDATION INC. f/n/a LINCOLN                         )
UNIVERSITY FOUNDATION INC.                            )
                                                      )
                                                      )
       Plaintiff,                                     )       Case Number:
                                                      )
v.                                                    )       INJUNCTIVE RELIEF
                                                      )       REQUESTED
                                                      )
BOARD OF CURATORS OF                                  )
LINCOLN UNIVERSITY                                    )
                                                      )
                                                      )
       Defendant.                                     )

                                     VERIFIED PETITION

       COMES NOW, Plaintiff 62and & 65th Regiments Legacy Foundation Inc., f/n/a Lincoln

University Foundation Inc. (“Foundation”), and for its Verified Petition against Defendant, the

Board of Curators of Lincoln University (“University”) states and alleges as follows:

                                        INTRODUCTION

       For nearly half a century the Foundation has served Lincoln University by raising and

disbursing donor funds for scholarships for University students. Over the course of this time and

in partnership with over half a dozen University administrations, the Foundation has raised and

disbursed millions of dollars for the direct support of the University and its students.

       The Foundation and Lincoln University entered into a 2015 Amended Memorandum of

Understanding whereby the University would provide administrative and general support

services to the Foundation to assist the Foundation in continuing to solicit, manage and disburse

donor funds for the benefit of students and the University. The Foundation brings this Petition to

recover all Foundation documents, information, and assets, including the $667,173.05 in




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Foundation special-purpose funds that the University wrongfully retains in breach of its

agreements with the Foundation and donors and in breach of the covenant of good faith and fair

dealing. The Foundation further seeks an order requiring that the University immediately cease

and desist use of all Foundation donor information and documents.

                                             PARTIES

        1.      The Foundation is a nonprofit corporation organized under the Missouri Nonprofit

Corporation law pursuant to Chapter 355 of the Revised Statutes of Missouri, 2017.

        2.      The Foundation is a corporation designed to solicit, secure and steward donor gifts

in support of the education, research and community activities of Lincoln University.

        3.      The Board of Curators for Lincoln University is a public governmental body

established and organized under Missouri law and is the governing body of Lincoln University.

        4.      Lincoln University is a historically black public land-grant university located in

Jefferson City, Missouri and was founded by soldiers and officers of the 62nd and 65th United

States Colored Infantry at the close of the American Civil War.

                                     JURISDICTION AND VENUE

        5.      This Court has personal jurisdiction over Defendant because Defendant is

principally located in Cole County, Missouri.

        6.      Venue is proper in this Court because a substantial part of the events giving rise to

the claim occurred in Cole County, and Defendants are subject to this Court’s personal

jurisdiction.

                                                   FACTS

       A. Memorandum and Understanding Between the University and the Foundation

        7.      On September 10, 2015, the Foundation and the Board of Curators of Lincoln



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University entered into an Amended Memorandum of Understanding (“Agreement”) to facilitate

fundraising for the University and student scholarships. Exhibit (“Ex.”) A (September 10, 2015

Memorandum of Understanding).

       8.      The Agreement replaced an existing memorandum of understanding that had been

in place since 2000, which provided that the University would provide administrative support to

the Foundation for purposes of providing scholarships to students and financial support to the

University.

       9.      Under the terms of the Agreement, the Foundation would serve as “the primary

external fundraising entity of the University and its Curators.”

       10.     Among other things, the Agreement details the obligations both parties agreed to

in order to raise, manage and disburse funds for the University and its students.

       11.     The University agreed to provide three distinct categories of support to the

Foundation pursuant to the Agreement. The categories included: (1) Physical Facilities; (2)

General Administrative Support; and (3) Financial Administrative Support.

       12.     First, the University agreed to provide physical facilities to the Foundation. To

this end, the University provided the Foundation with “(1) office space; (2) local telephone

service; (3) utilities; (4) office furniture; (5) other such facilities as may be necessary from time

to time.”

       13.     Second, the University agreed to provide the Foundation with general

administrative support. General administrative support included, among other things,

maintaining “accurate and complete Foundation files”; managing “Foundation-sponsored

scholarships”; and handling “correspondence, research, and other Foundation business.”

       14.     Finally, the University also agreed to provide financial administrative support.



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This category of support included: “receiving and processing deposits”; processing

“disbursement vouchers”; preparing “disbursements”; distributing “financial statements to

account contacts quarterly”; and “maintaining accurate and complete financial records.”

       15.    Financial administrative support also included “maintaining and updating financial

binders”; responding “to inquiries by donors, account contacts, accountants, Blackbaud computer

software personnel, credit card representatives, etc.”; maintaining and updating “Blackbaud ‘The

Raisers Edge’ computer software system for donor record management”; preparing and

distributing “donor thank you cards and tax receipts”; and overseeing the “credit card donation

system.”

       16.    As part of the Agreement, the Foundation reimbursed the University for a

“mutually agreed upon percentage of any services provided to the Foundation by the University

personnel.”

       17.    Under the terms of this Agreement, the University was acting as the Foundation’s

agent and has a fiduciary duty to the Foundation with respect to matters that are within the scope

of the University’s agency.

       18.    Within months of becoming President of Lincoln University, in June 2018, Dr.

Woolfolk sought to change the Agreement. On November 16, 2018, Dr. Woolfolk sent a letter to

Hardy Dorsey, President of the Foundation, requesting a meeting on November 29, 2018 to

discuss “the relationship between Lincoln University and the Lincoln University Foundation,

Inc.” and her “proposal to mutually agree upon an Affiliation Agreement that seeks to improve

that relationship.” Ex. B (November 16, 2018 Letter from J. Woolfolk to H. Dorsey).

       19.    Specifically, Dr. Woolfolk desired to “transfer[] funds from the Foundation to the

University.” Dr. Woolfolk concluded her letter with a recognition that her letter may be



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“unsettling.”

       20.      Less than a month after Dr. Woolfolk’s letter requesting a meeting to renegotiate

the Agreement, the Chair of the University Board of Curators, sent Mr. Dorsey a letter on

December 14, 2018 notifying him of the termination of the Agreement effective December 31,

2018. Ex. C (December 14, 2018 Letter from M. Teer to H. Dorsey).

       21.      On January 17, 2019, Dr. Woolfolk provided the Foundation with a proposed

Memorandum of Understanding, signed by her. Ex. D (Proposed Memorandum of

Understanding provided by Woolfolk).

       22.      Dr. Woolfolk requested that “[t]he signed Memorandum of Understanding” be

returned to her “no later than February 18, 2019.” Dr. Woolfolk’s new memorandum provided

that the Foundation “earmark annually 50% of its unrestricted funds for use by the President and

shall transfer those funds annually to the President’s discretionary fund …”

       23.      The Foundation responded to Dr. Woolfolk’s proposed plan of action with a letter

from its President on February 15, 2019 requesting a meeting to “fully discuss the relationship.”

Ex. E (February 15, 2019 Letter from Dorsey to Woolfolk).

       24.      On February 20, 2019, Jacqueline Shipma, Counsel for the University, sent Dorsey

a letter titled “Cease & Desist.” Ex. F (Letter from Shipma to Dorsey, February 20, 2019). The

“Cease & Desist” letter notified the Foundation that the proposed offer to renegotiate the

Agreement expired on February 18, 2019 and that “[b]ecause the Foundation rejected that offer

[Woolfolk’s proposed MOU], the University is ceasing all administrative services on behalf of

the Foundation effective end of business March 22, 2019.”

                      B. Transfer of $667,173 from Foundation to University

       25.      Approximately Eight (8) days after the University’s counsel notified the



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Foundation that all administrative services provided by the University would be terminated, the

University, in consultation with a Foundation Board Member, transferred $667,173.05 from the

Foundation to the University.

       26.    On or about February 28, 2019, $667,173.05 was transferred from Foundation

bank accounts to the University in the following amounts: (1) check No. 12697 was written in

the amount of $71,932.35; (2) check No. 12698 was written in the amount of $224,313.12; (3)

check No. 12702 was written in the amount of $90,754.06; and (4) check No. 12704 was written

in the amount of $280.173.52. Each check was written on the same day, made payable to the

same account, and invoiced with the same description which read “Moving Funds to LU Fund.”

       27.    These large transfers were uncommon transfers for the Foundation as generally

transfer amounts were smaller dollar amounts, usually a couple thousand dollars but no more

than $10,000.00. Moreover, these transfers contravened long-standing Foundation patterns and

practices.

       28.    The $667,173.05 in funds that were transferred were Foundation accounts that

pursuant to agreements entered into by the donor, the Foundation, and the University were

established within the Foundation and were to be administered by the Foundation (“Donor

Agreements”). Some of the Donor Agreements were formalized in written Memoranda of

Understanding. See Ex. G (four sample written Donor Agreements) (filed under seal)

       29.    On March 22, 2019, James Tippin, a former longtime Foundation board member,

sent a letter to the University on behalf of the Foundation requesting that the University deliver

all Foundation documents, information and property that was in the University’s possession to

the Foundation. The requested documents, information and property, included but was not

limited to: (1) the Foundation’s donor list, donor history and donor database; (2) Foundation



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bank statements; (3) financial records such as tax returns and independent audits; (4) computer

software used for financial management; and (5) memoranda of understanding between the

Foundation and its donors. The Foundation requested “[a]n accounting for all disbursements

from those transferred funds, to include but not limited to supporting documents.” The

Foundation further requested that the University confirm that it had not retained any of the

Foundation’s donor information or documents.

       30.    On April 2, 2019, Shipma responded by letter to the Foundation’s March 22, 2019

letter. Ex. H (April 2, 2019 Letter from J. Shipma to J. Tippin). The letter stated that “for a

variety of legal and other reasons,” the University would not be able to certify that it “has not

retained information on donor records as most of the records also involve the University” and

that the request for resolutions and other Board of Curator action “are closed records under” the

Sunshine Law.

       31.    On April 8, 2019, the University sent Mr. Tippin an email supplementing its

responses in its April 2, 2019 letter. The email noted that the University had provided copies of

some of the requested documents to the Lincoln University Police Department for the

Foundation’s retrieval.

       32.    The University produced some, but not all the documents responsive to the

Foundation’s March 22, 2019 request. The University’s document production failed to include,

among other things, (1) the Foundation’s donor list; (2) information sufficient for it to access the

Razors Edge database (software that was purchased with Foundation funds), which is the donor

and fundraising management system that is used to manage all of the Foundation’s fundraising

and disbursements; and (3) documents and information sufficient to fully account for the

transferred funds.



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       33.    On April 29, 2019, the Foundation’s counsel renewed the Foundation’s requests

that: (1) all documents and information belonging to the Foundation be immediately delivered to

the Foundation; and (2) the University agree not to use or retain any Foundation documents or

donor information.

       34.    As a result of the University’s failure to fully comply with the Foundation’s March

22, 2019 and April 29, 2019 requests, the Foundation has been unable to: (1) establish

administrative functions to continue its work of supporting the University and its students; (2)

fully account for the $667,173.05 transfer of Foundation special-purpose funds to the University

Advancement Office; and precludes the Foundation from (3) preventing the University from

engaging in the unauthorized use of its donor information.

                             Count I (Breach of Donor Agreements)

       35.    Plaintiff reincorporates by reference the allegations contained in paragraphs 1

through 34 above as if fully set forth herein.

       36.    The University entered into Donor Agreements with the Foundation and

Foundation donors for the establishment of special-purpose funds to be held within the

Foundation.

       37.    Under the terms of the Donor Agreements, the Foundation and the University

agreed that: (1) the funds would be administered by the Foundation; and (2) the funds would be

utilized for the purpose that was specified in the Donor Agreements.

       38.    The University breached the Donor Agreements by: (1) inducing a Foundation

board member to transfer $667,173.05 of Foundation funds being administered pursuant to

Donor Agreements to the University; and (2) accepting $667,173.05 of funds that were being

administered by the Foundation pursuant to the terms of the Donor Agreements into a University



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bank account.

       39.      The Foundation and donors had performed all of their duties, obligations and

conditions precedent under terms of the Donor Agreements.

       40.      The University failed to perform its obligations under the terms of the Donor

Agreements when it induced a Foundation board member to transfer $667,173.05 of special -

purpose funds that were held pursuant to Donor Agreements and accepted the transfer of those

funds into University accounts.

       41.      The University’s failure to perform its obligations damaged the Foundation in that

it has caused the Foundation: (1) to be deprived of the $667,173.05 in donor funds; and (2) to be

unable to fulfill its obligation to administer those funds pursuant to the terms of the Donor

Agreements.

       42.      Plaintiff has suffered damages as a direct result of Defendant’s breach of the

Donor Agreements in excess of $25,000 which will be proven at trial.

                WHEREFORE, the Foundation prays for judgment against the University in

Count I herein in a sum in excess of Twenty-Five Thousand Dollars ($25,000), for direct,

consequential and incidental damages, for attorneys’ fees and costs incurred herein, for pre-

judgment and post-judgment interest, and for such other and further relief as the Court deems

just and proper.

                              Count II (Breach of Foundation Agreement)

       43.      Plaintiff reincorporates by reference the allegations contained in paragraphs 1

through 42 above as if fully set forth herein.

       44.      The University entered into the Agreement with the Foundation in which the

University agreed to provide the Foundation administrative support for the purpose of



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fundraising for the benefit of the University and its students.

       45.    In exchange for the University’s agreement to provide administrative support, the

Foundation agreed to solicit and raise funds in support of the University and its students and

reimburse the University for a percentage of the cost of the administrative services that

University staff provided to the Foundation.

       46.    The Foundation performed all of its duties, obligations and conditions precedent

under the terms of the Agreement.

       47.    The University failed to perform its obligations under the Agreement when it

unilaterally terminated its agreement with the Foundation and failed to provide the administrative

support necessary to transfer the documents and information belonging to the Foundation, as the

Foundation requested in letters of March 22, 2019 and April 29, 2019.

       48.    The University further failed to perform its obligations under the Agreement by

seeking to retain and use Foundation donor information and documents.

       49.    The University’s failure to perform its obligations damaged the Foundation in that

it has caused the Foundation to be unable to: (1) disburse scholarships to deserving University

students; (2) continue its fundraising operations; (3) account for donor gifts that were entrusted

to the Foundation; and (4) communicate with its donors.

       50.    The Foundation has suffered damages as a direct result of the University’s breach

of the Agreement in excess of $25,000 which will be proven at trial.

               WHEREFORE, the Foundation prays for judgment against the University in

Count II herein in a sum in excess of Twenty-Five Thousand Dollars ($25,000), for direct,

consequential and incidental damages, for attorneys’ fees and costs incurred herein, for pre-




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judgment and post-judgment interest, and for such other and further relief as the Court deems

just and proper.

             COUNT III (Breach of Implied Covenant of Good Faith and Fair Dealing)

       51.     Plaintiff reincorporates by reference the allegations contained in paragraphs 1

through 50 above as if fully set forth herein.

       52.     As set forth above, the Foundation entered into the Agreement and performed its

obligations under the terms of the Agreement.

       53.     The Agreement imposes on each party a duty of good faith and fair dealing in its

performance.

       54.     The University breached its duty of good faith and fair dealing by: (1) unilaterally

terminating its agreement with the Foundation and failing to provide the administrative support

necessary to transfer the documents and information belonging to the Foundation to the

Foundation, as requested in the Foundation’s March 22, 2019 and April 29, 2019 letters; and (2)

failed to perform its obligations under the Agreement by seeking to retain and use Foundation

donor information and documents.

       55.     The University exercised judgment conferred by the Agreement in such a manner

as to evade the spirit of the transaction or so as to deny the Foundation the expected benefit of

the Agreement.

       56.     As a direct result of the University’s breaches of the Agreement and the implied

covenant of good faith and fair dealing, the Foundation is damaged in an amount in excess of

$25,000.

               WHEREFORE, the Foundation prays for judgment against the University in

Count III herein in a sum in excess of Twenty-Five Thousand Dollars ($25,000), for direct,



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consequential and incidental damages, for attorneys’ fees and costs incurred herein, for pre-

judgment and post-judgment interest, and for such other and further relief as the Court deems

just and proper.

                   COUNT IV (Violation of the Missouri Uniform Trade Secrets Act)

       57.     The Foundation reincorporates by reference the allegations contained in

paragraphs 1 through 56 above as if fully set forth herein.

       58.     The acts of the University complained of herein constitute misappropriation of

trade secrets under Missouri Uniform Trade Secret Act, Section 417.453, et seq., Revised

Statutes of Missouri.

       59.     During the course of its relationship with the Foundation, the University gained

access to the Foundation’s proprietary donor lists, donor information, donor history, and Razors

Edge database.

       60.     The University knows that the documents relating to Foundation donors that they

acquired while providing administrative support to the Foundation under the terms of the

Agreement are Foundation trade secrets.

       61.     The University acquired Foundation trade secrets by improper means, in that the

University acquired Foundation trade secrets by theft and/or by breach of the duty the University

owed the Foundation to maintain the secrecy of the Foundation’s trade secrets.

       62.     The University has used Foundation trade secrets without the Foundation’s

express or implied consent, and has refused the Foundation’s demand that they return the donor

information and cease any use of the donor information.

       63.     The Foundation has been proximately and consequently damaged by the

University’s misappropriation of Foundation trade secrets, and will continue to be irreparably



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harmed and damaged. The Foundation’s remedies at law are inadequate to compensate for this

harm and damage.

       64.    The Foundation derives independent economic value from the fact that the

Foundation’s confidential information and trade secrets are, in fact, confidential. Plaintiff’s trade

secrets are not generally known to, and not readily ascertainable by proper means by other

persons who can obtain economic value from their disclosure or use.

       65.    Foundation’s trade secrets are the subject of reasonable efforts to maintain

secrecy, including but not limited to limiting access to certain individuals with a legitimate

reason for knowing such information, and maintaining physical, electronic, and procedural

safeguards.

       66.    By acquiring, disclosing, and/or utilizing the Foundation’s trade secrets,

Defendant’s actions constitute actual misappropriation of trade secrets in violation of the

Missouri Uniform trade Secrets Act, RSMo. §§ 417.45, et seq.

       67.    The University acted (and continues to act) willfully and with reckless indifference

to the rights of the Foundation.

       68.    The University’s misappropriation of trade secrets has caused, or threatens to

cause, substantial and irreparable damage to the Foundation by interfering with and altering the

Foundation’s donor relationships that have been cultivated over four decades.

              WHEREFORE, the Foundation prays for judgment against the University in Count

IV herein in a sum in excess of Twenty-Five Thousand Dollars ($25,000), for direct,

consequential and incidental damages, for attorneys’ fees and costs incurred herein, for pre-

judgment and post-judgment interest, and for such other and further relief as the Court deems

just and proper.



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                                        Prayer for Relief

       WHEREFORE, the Foundation prays for judgment against the University in Count I-IV

herein in a sum in excess of Twenty-Five Thousand Dollars ($25,000) for each, for direct,

consequential and incidental damages, for attorneys’ fees and costs incurred herein, for pre-

judgment and post-judgment interest, and for such other and further relief as the Court deems

just and proper.

       The Foundation further prays that Lincoln University be temporarily, preliminarily, and

permanently enjoined and restrained from: (1) retaining, using or disclosing any documents or

information it has obtained as a result of performing its obligations under the Agreement; (2)

withholding the Foundation’s documents, information and assets currently in its possession from

the Foundation; and (3) expending any of the $667,173.05 in Foundation special-purpose funds

that were transferred into a University account in February.



Dated: May 6, 2019                                   Respectfully submitted,

                                                     DOWD BENNETT, LLP

                                                           \s\ Gabriel E. Gore
                                                     By: _________________________
                                                     Gabriel E. Gore, 45416
                                                     Derick D. Dailey, 70773
                                                     7733 Forsyth Blvd., Suite 1900
                                                     St. Louis, Missouri 63105
                                                     314-889-7300 (phone)
                                                     314-863-2111 (facsimile)
                                                     ggore@dowdbennett.com
                                                     ddailey@dowdbennett.com

                                                     Attorneys for Plaintiff 62nd & 65th Legacy
                                                     Regiments Foundation




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 6, 2019, a true and correct copy of the foregoing was sent via

the Court’s electronic filing system and forwarded to the Michael Lause, via email at

mlause@thompsoncoburn.com.




                                                \s\ Gabriel E. Gore




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